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                                                                                                              1. There is no presumption of abuse.
   Debtor2
   (Spouse, if filing) First Name              Middle Name              Last   Name                       D   2. The calculation to determine if a presumption of
                                           A v,i1MJ l'I\-District of _'\01.JYt,f\
   United States Bankruptcy Court for the: 1y· \ I 't'...,              _ _ __
                                                                                  -~                             abuse applies will be made under Chapter 7
                                                                                                                 Means Test Calculation (Official Form 122A-2).
   Case number
   (If known)
                                                                                                          D   3. The Means Test does not apply now because of
                                                                                                                 qualified military service but it could apply later.



                                                                                                          D Check if this is an amended filing

 Official Form 122A-1
 Chapter 7 Statement of Your Current Monthly Income                                                                                                               04/20
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
 space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
 additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
 do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
 Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

                    Calculate Your Current Monthly Income

    1. What is your marital and filing status? Check one only.
         D      Not married. Fill out Column A, lines 2-11.
         D      ~ried and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        !ij/Married and your spouse is NOT filing with you. You and your spouse are:
                D    ~ g in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
             'Q/(.iving separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only . If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A             Co/umnB
                                                                                                           Debtor 1             Debtor2 or
                                                                                                                                non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
       (before all payroll deductions).
   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.
   4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.

   5. Net income from operating a business, profession,               Debtor 1         Debtor2
      or farm
      Gross receipts (before all deductions)                            $_ _           $_ _

       Ordinary and necessary operating expenses                                      -$_ _
                                                                                                 Copy
       Net monthly income from a business, profession, or farm          $_ _                     here ➔

   6. Net income from rental and other real property                  Debtor 1         Debtor2
      Gross receipts (before all deductions)                                            $_ _
       Ordinary and necessary operating expenses                     -$_ _ -$_ _
                                                                                                 Copy
      Net monthly income from rental or other real property                            $_ _ here ➔                              $-..,,.---
      Interest, dividends, and royalties                                                                                         $---'L.......C"--1,--




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                        page 1
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  Debtor 1                                                                                                                      Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __



                                                                                                                                     Column A                    ColumnB
                                                                                                                                     Debtor 1                    Debtor2 or
                                                                                                                                                                 non-filrjspouse
     8. Unemployment compensation                                                                                                                                   $           q
         Do not enter the amount if you contend that the amount received was a benefit
         under the Social Security Act. Instead, list it here: ................................ ~ :'\


              : ~ ~:~;·~·~~~~~·: : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : : q·5l)
     9. Pension or retirement income. Do not include any amount received that was a
        benefit under the Social Security Act. Also, except as stated in the next sentence, do
        not include any compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If you received any retired
        pay paid under chapter 61 of title 10, then include that pay only to the extent that it
        does not exceed the amount of retired pay to which you would otherwise be entitled if
        retired under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                      $_(__
                                                                                                                                          )_
     10. Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act; payments made under
         the Federal law relating to the national emergency declared by the President under the
         National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
         disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
         against humanity, or international or domestic terrorism; or compensation, pension,
         pay, annuity, or allowance paid by the United States Government in connection with a
         disability, combat-related injury or disability, or death of a member of the uniformed
        services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                                     $_~--
                                                                                                                                      $    0
         Total amounts from separate pages, if any.


    11. Calculate your total current monthly income. Add lines 2 through 10 for each
        column. Then add the total for Column A to the total for Column B.                                                                                 +                          =l/1~1
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income

                    Determine Whether the Means Test Applies to You

    12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11 ...................................................................................... Copy line 11 here+

                  Multiply by 12 (the number of months in a year).                                                                                                                    X     12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.


   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.


       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household ..................................................................................................13.
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14. How do th          mes compare?


       14a.         Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2




      14b.    0     Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A-2.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                                            page 2
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  Debtor 1                                                                                            Case number (If known),_ _ _ _ _ _ _ _ _ _ _ _ __




                                                                ·u~t the information on this statement and in any attachments is true and correct.


                                                                                               X                Y)~
                                                                                                   Signature of Debtor 2


                                                                                                   Date -:-M-:--:M-:-/~D-=-D___,/..,...YYYY,....,,....,-


                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                       Chapter 7 Statement of Your Current Monthly Income                                                                       page 3
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                                                                                                                 BTXN 094 (rev. 5/04)


                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS

                                                        §
 In Re:                                                 §
                                                        §    Case No.:
                                                        §
                                                        §
                                      Debtor(s)         §
                                                        §


                                   VERIFICATION OF MAILING LIST


          The Debtor(s) certifies that the attached mailing list ( only one option may be selected per
form):

                  ~the first mail matrix in this case.
                   □   adds entities not listed on previously filed mailing list(s).
                   □   changes or corrects name(s) and address(es) on previously filed mailing list(s).
                   □   deletes name(s) and address(es) on previously filed mailing list(s).



        In accordance with N.D. TX L.B.R. 1007.1, the above named Debtor(s) hereby verifies
that the attached list of creditors is true and correct.




                                                            Signature of Attorney (if applicable)




                                                                    s Social Security (last four digits only) /Tax ID No.




Signature of Joint Debtor (if applicable)                   Joint Debtor's Social Security (last four digits only) /Tax ID No.
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 Carmax
 12800 Tuckahoe Creek Pkwy
 Richmond, VA23238.


 Sprint
PO Box 4191
 Carol Stream, IL 60197-419


University of north Texas at Denton
1155 Union Cir
 Denton, TX 76203


NTPM
3415 Custer Rd #122
Plano, TX 75023
NTTA
P.O. Box 660244
Dallas, TX 75266




MCMCAuto
1919 E Lancaster Ave
Fort Worth, TX 76103
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Lobel Finance
2080 N Hwy 360

Grand Prairie, TX 75050




LOQBOX FINANCE US LLC
36 Maplewood, Portsmouth,

New Hampshire, 03801.




WORLD FINANCE CORPORATION
PO Box 6429

Greenville, SC 29606
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 Fig tech inc/Fig loans
 335 MADISON AVENUE 16THFLOOR
 NEW YORK NY 10017


 Neighborhood credit union
 13651 Montfort Drive
 Dallas, TX 75240


 Possible finance
 22311st Avenue #B,
Seattle WA, 98121


World finance incorporated
528 S Saginaw Blvd,
Saginaw, TX 76179




Sunrise bank/ self-lender
109 E Church Street
Suite 100
Orlando, FL 32801




Webank/fresh start
6250 Ridgewood Rd.,
St. Cloud, MN 56303.
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 txu energy
 PO Box 650700,
 Dallas, TX 75265-0700


Atmos energy
 100 W Morningside Dr,
Fort Worth, TX 76110


City of Fort Worth water
P.O. Box 961003.

Fort Worth, TX 76161-0003



Rent recovery solutions
1945 The Exchange SE,
Atlanta, GA 30339




IC systems
Headquarters 444 Highway 96 E,
Saint Paul, MN 55127-2557.
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 Nationwide capital servicing
 284C E. Lake Mead Parkway

 Henderson, NV 89015




 Grain technology

 505 14th Street, Suite 900,

 Oakland, CA 94612.



 Capital one
PO Box 71083

Charlotte, NC 28272-1083




Cleo ai inc

 594BROADWAY, SUITE 701,

New York City, 10012




Acima

PO Box 1667.
Draper, UT 84020-1667



Afterpay
222 Kearny St #600

San Francisco CA 94016
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Four INC

 16855 NE 2nd Ave

Miami, Florida 33162, US




Dave
1265 S Cochran Ave,

Los Angeles, CA 90019




Dept of Education/ Fed loan servicing
P.O. Box 790234,
St. Louis, MO 63179-0234
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 Iwg debt collections
 Dammstrasse 19 Zug,
 CH-6300 Switzerland




 Regus
 9800 Hillwood Pkwy Suite 140,
 Fort Worth, TX 76177




Speedycash
P.O. Box 780408.
Wichita, KS 67278.




Kiko ff lending
 75 BROADWAY, SUITE 226,
 SAN FRANCISCO, 94111




Southwest recovery systems
2626 Cole Ave Suite 364
Dallas, TX 75204
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 Sunrise la
 5545 Cameron St,
 Scott, LA 70583


 Fingerhut/webank
 6250 Ridgewood Rd.,
 St. Cloud, MN 56303


Fergus capital Ile
 106 Allen Road; Bernards Township, NJ , 07920


Snap finance

PO Box 26561. Salt Lake City,
UT 84126


Aarons rental
6246 Rufe Snow Dr Ste B,
North Richland Hills, TX


Rent a center

Attn: Customer Service 5501 Headquarters Dr.
Plano, TX 75024
